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                                 UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


NETCHOICE, LLC d/b/a NetChoice                                  5:22-cv-08861
                                                     Case No.
                 Plaintiff(s),
                                                     CONSENT OR DECLINATION
          v.                                         TO MAGISTRATE JUDGE
                                                     JURISDICTION
ROB BONTA, in his official capacity
                 Defendant(s).

INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you (if you
are the party) or the party you represent (if you are an attorney in the case) choose(s) to consent
or decline to magistrate judge jurisdiction in this matter. Sign this form below your selection.

           CONSENT to Magistrate Judge Jurisdiction

        In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to have a
United States magistrate judge conduct all further proceedings in this case, including trial and
entry of final judgment. I understand that appeal from the judgment shall be taken directly to the
United States Court of Appeals for the Ninth Circuit.

       OR

           DECLINE Magistrate Judge Jurisdiction

       In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United States
magistrate judge conduct all further proceedings in this case and I hereby request that this case be
reassigned to a United States district judge.

 DATE: _______________, 20____                    NAME:


                                                                           Signature
                                          COUNSEL FOR
           Case 5:22-cv-08861-VKD Document 19 Filed 01/04/23 Page 2 of 2




                              CERTIFICATE OF SERVICE

Case Name:      NetChoice, LLC v. Rob Bonta               No.    5:22-cv-08861-VKD

I hereby certify that on January 4, 2023, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
                DECLINATION TO MAGISTRATE JUDGE JURISDICTION
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on January 4,
2023, at San Francisco, California.


                 H. Su                                               /s/ H. Su
                Declarant                                            Signature

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